
356 S.W.3d 883 (2012)
In re D.L.C. and K.R.C., Jr., Minor Children.
No. ED 96857.
Missouri Court of Appeals, Eastern District, Division Four.
January 17, 2012.
Linda A. Colburn, Clayton, MO, for appellant.
Chris Koster, Atty. Gen., Gary L. Gardner, Jefferson City, MO, for respondent.
Before PATRICIA L. COHEN, P.J., CLIFFORD H. AHRENS, J., and ROBERT M. CLAYTON, III, J.

ORDER
PER CURIAM.
K.C. ("Father") appeals from the judgment of the trial court terminating his parental rights to D.L.C., his daughter, born on March 3, 2001, and to K.R.C., Jr., *884 his son, born on August 11, 2004. Father contends that the trial court erred in terminating his parental rights because its findings that several conditions of section 211.447.5 RSMo. Cum. Supp 2007 were met were not supported by clear, cogent, and convincing evidence. Father also asserts that even if statutory grounds for termination existed, termination of his parental rights was not in the best interests of the children.
We have reviewed the briefs of the parties and the record on appeal and find no error of law. No jurisprudential purpose would be served by a written opinion. However, the parties have been furnished with a memorandum opinion for their information only, setting forth the facts and reasons for this order.
The order of the trial court is affirmed in accordance with Rule 84.16(b).
